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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                Eastern Division

John Doe
                                                         Plaintiff,
v.                                                                    Case No.:
                                                                      1:22−cv−04925
                                                                      Honorable Jorge L.
                                                                      Alonso
The Partnerships and Unincorporated Associations
Identified on Schedule A, et al.
                                                         Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, August 16, 2023:


         MINUTE entry before the Honorable Jorge L. Alonso: Telephonic motion hearing
held. The Court is adopting the Report and recommendation [200]. Plaintiff's emergency
motion for sanctions and default [170] is granted as to Defendants #138 (OJJ−LL), #190
(KEHOO), #252 (ILAIQKOLLC); but is denied as to Defendants #174, #201 and Mr.
Johnson. Plaintiff's Motion for entry of a preliminary injunction [33] is granted. Plaintiff's
Combined motion for entry of a preliminary injunction and to set a date certain for rule
26(f) conferences [203] is granted. The parties are ordered to comply with the
requirements set forth in rule 26(f) by 9/6/23. Plaintiff's Bill of Costs [202] is approved.
Defendant's Motion to withdraw as counsel [186] is granted. Preliminary injunction
hearing previously set for 8/22/23 is stricken. Telephonic status hearing set for 9/7/23 at
9:30 a.m. Members of the public and media will be able to call in to listen to this hearing.
The call−in number is 888−808−6929 and the access code is 4911854. Counsel of record
will receive an email 30 minutes prior to the start of the telephonic hearing with
instructions to join the call. Persons granted remote access to proceedings are reminded of
the general prohibition against photographing, recording, and rebroadcasting of court
proceedings. Violation of these prohibitions may result in sanctions, including removal of
court issued media credentials, restricted entry to future hearings, denial of entry to future
hearings, or any other sanctions deemed necessary by the Court. Notice mailed by Judge's
staff (lf, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
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